                                           Case 19-16976-AJC                                    Doc 19                Filed 06/20/19                         Page 1 of 76
 Fill in this information to identify the case:

 Debtor name            America-CV Network, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)               19-16976-BKC-AJC
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $        3,967,946.55

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        3,967,946.55


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $               5,581.76


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $            71,828.15

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        4,951,818.38


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          5,029,228.29




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name          America-CV Network, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)         19-16976-BKC-AJC
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest
 2.         Cash on hand                                                                                                                             $2,150.00



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Regions Bank                                           Checking                         4668                                 $701,435.19




            3.2.     TD Bank                                                Checking                         4084                                         $55.46




            3.3.     Iberia Bank                                            Checking                         9646                                  $22,750.71



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                  $726,391.36
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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 Debtor            America-CV Network, LLC                                                        Case number (If known) 19-16976-BKC-AJC
                   Name




            7.1.     Deposit with ESRT Empire State Building LLC                                                                            $140,000.00




            7.2.     Deposit with Puerto Rico Utility (Bonded)                                                                               $25,000.00



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


 9.         Total of Part 2.                                                                                                            $165,000.00
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                        1,596,545.11    -                                   0.00 = ....              $1,596,545.11
                                              face amount                           doubtful or uncollectible accounts




 12.        Total of Part 3.                                                                                                          $1,596,545.11
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.

 Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No.   Go to Part 6.
       Yes Fill in the information below.

 Part 6:           Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

       No.   Go to Part 7.
       Yes Fill in the information below.

 Part 7:           Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

       No. Go to Part 8.
       Yes Fill in the information below.
            General description                                                  Net book value of         Valuation method used   Current value of
                                                                                 debtor's interest         for current value       debtor's interest
                                                                                 (Where available)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
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 Debtor         America-CV Network, LLC                                                       Case number (If known) 19-16976-BKC-AJC
                Name



 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           See attached Schedule of Equipment                                        $877,977.57     N/A                              $877,977.57



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                          $877,977.57
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2018 Lexus NX 300,
                     JTJYARBZ8J2110720 (leased)
                     2016 Ford Econoline,
                     1FTSS34L36HB26744
                     2015 Kia Sedona, KNDMC5C15F6051395                                Unknown       N/A                                 Unknown



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.                                                                                                               $0.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         America-CV Network, LLC                                                       Case number (If known) 19-16976-BKC-AJC
                Name


             No
             Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            See attached                                                               Unknown       N/A                                 Unknown



 61.        Internet domain names and websites
            See attached                                                               Unknown       N/A                                 Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                               $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor's interest

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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 Debtor         America-CV Network, LLC                                                      Case number (If known) 19-16976-BKC-AJC
                Name



 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Litigation Claims against Omar Alejando Romay,
           Okeechobee Television Corp., Promisa, Inc., Sherjan
           Broadcasting, Inc., Telecenter, Inc., America Teve
           Network, Inc. and their insiders and affiliates                                                                             Unknown
           Nature of claim          Subordination/Fraudulent
                                    Transfer/Other Causes of
                                    Action
           Amount requested                                $0.00


           Cause of Action against Jose Perez Cordoba, Ja Ja Ja
           Production, Inc., Julio Cesar Leal and Carlucho
           AMERICA CV NETWORK, LLC. VS JOSE C PEREZ
           CORDOBA ET AL
           Pending Case Number: 2019-006769-CA-01                                                                                      Unknown
           Nature of claim          Breach of Contract
           Amount requested                             $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims
           Remainder of Insurance Claim from Hurricane Maria
           Allianz Claim Number 80139251
           See attached Statement of Loss for calculation details                                                                   $516,383.68
           Nature of claim
           Amount requested                                          $516,383.68



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Repack Rebate from Federal Communications
           Commission (contingent upon payment of certain
           construction invoices) - See attached detail (WJWN)                                                                         $85,648.83




 78.       Total of Part 11.                                                                                                     $602,032.51
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 5
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 Debtor          America-CV Network, LLC                                                                             Case number (If known) 19-16976-BKC-AJC
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $726,391.36

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $165,000.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,596,545.11

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $877,977.57

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $602,032.51

 91. Total. Add lines 80 through 90 for each column                                                         $3,967,946.55            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,967,946.55




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
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                                      Case 19-16976-AJC                     Doc 19           Filed 06/20/19        Page 26 of 76
 Fill in this information to identify the case:

 Debtor name          America-CV Network, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)              19-16976-BKC-AJC
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
        Banc of America Leasing &
 2.1                                                                                                                          $5,581.76                       $0.00
        Capital, LLC                                  Describe debtor's property that is subject to a lien
        Creditor's Name                               Software/Equipment
        135 S. LaSalle Street
        IL4-135-10-61
        Chicago, IL 60603
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    Banc of California, N.,A.                     Describe debtor's property that is subject to a lien                    Unknown                         $0.00
        Creditor's Name                               Software/Equipment
        18500 Von Karman Ave.
        Suite 1100
        Irvine, CA 92612
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply


Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 4
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 Debtor       America-CV Network, LLC                                                                  Case number (if know)    19-16976-BKC-AJC
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3   Banco de Sabadell S.A.                         Describe debtor's property that is subject to a lien                     Unknown        Unknown
       Creditor's Name                                Property arising from real property owned by
       1111 Brickell Ave.                             Orly Group, Inc. (non-debtor)
       30th Floor
       Miami, FL 33131
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                       Disputed


 2.4   Financial Agent Services                       Describe debtor's property that is subject to a lien                     Unknown              $0.00
       Creditor's Name                                Software/Equipment
       PO Box 2576
       Springfield, IL 62708
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



       International Electronic
 2.5                                                                                                                           Unknown              $0.00
       Enterprises, In                                Describe debtor's property that is subject to a lien
       Creditor's Name                                Software/Equipment
       110 Agate Ave.
       Newport Beach, CA 92662
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 2 of 4
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 Debtor       America-CV Network, LLC                                                                  Case number (if know)    19-16976-BKC-AJC
              Name

        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



        Lease Corporation of
 2.6                                                                                                                           Unknown        Unknown
        America                                       Describe debtor's property that is subject to a lien
        Creditor's Name                               Software/Equipment
        3150 Livernois Rd.
        Suite 300
        Troy, MI 48083
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.7    Oracle Credit Corporation                     Describe debtor's property that is subject to a lien                     Unknown              $0.00
        Creditor's Name                               Software/Equipment
        500 Oracle Parkway
        Redwood City, CA 94065
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $5,581.76

Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 3 of 4
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 Debtor       America-CV Network, LLC                                                            Case number (if know)         19-16976-BKC-AJC
              Name


 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 4 of 4
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                                   Case 19-16976-AJC                          Doc 19             Filed 06/20/19              Page 30 of 76
 Fill in this information to identify the case:

 Debtor name         America-CV Network, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)          19-16976-BKC-AJC
                                                                                                                                             Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $4,471.39         $0.00
           Chubb & Son                                               Check all that apply.
           PO Box 382001                                              Contingent
           Pittsburgh, PA 15250-8001                                  Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $67,356.76         $67,356.76
           Humana Health Insurance of FL                             Check all that apply.
           PO Box 3277                                                Contingent
           Milwaukee, WI 53201                                        Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




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 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $47,034.00
          AC NIELSEN CORPORATION                                              Contingent
          PO Box 88961                                                        Unliquidated
          Chicago, IL 60695-8961                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $1,813,310.83
          AMERICA-CV STATION GROUP, INC.                                      Contingent
          13001 NW 107th Ave.                                                 Unliquidated
          Hialeah Gardens, FL 33018                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,827.00
          American Express                                                    Contingent
          P.O. Box 650448                                                     Unliquidated
          Dallas, TX 75265-0448                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $550.00
          AMERICAN FIRE SPRINKLER SERVICES,                                   Contingent
          INC.                                                                Unliquidated
          3371 NW 154th Terrace                                               Disputed
          Miami Gardens, FL 33054
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $102.00
          AMERICAN METEOROLOGICAL SOCIETY                                     Contingent
          45 Beacon ST                                                        Unliquidated
          Boston, MA 02108-3693                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $53,843.51
          AMERICAN TOWER CORP.                                                Contingent
          29637 Network Place                                                 Unliquidated
          Chicago, IL 60673-1296                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $22.20
          AT & T                                                              Contingent
          P.O. Box 105262                                                     Unliquidated
          Atlanta, GA 30348-5262                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,829.45
          AT & T PRO - CABS                                                   Contingent
          P.O. Box 105373                                                     Unliquidated
          Atlanta, GA 30348                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,777.69
          AT & T.                                                             Contingent
          P.O. BOX 5019                                                       Unliquidated
          CAROL STREAM, IL 60197-5019                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          ATCI                                                                Contingent
          4050 N McKemy AV                                                    Unliquidated
          Chandler, AZ 85226                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,006.00
          ATLANTIC BROADBAND                                                  Contingent
          PO BOX 371801                                                       Unliquidated
          PITTSBURGH, PA 15250-7801                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,040.00
          AVAYA FINANCIAL SERVICES                                            Contingent
          CIT                                                                 Unliquidated
          21146 Network Place                                                 Disputed
          Chicago, IL 60673-1211
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,296.00
          AVID FINANCIAL SERVICES                                             Contingent
          PO BOX 740425                                                       Unliquidated
          ATLANTA, GA 30374-0425                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,271.80
          B&H PHOTO-VIDEO INC                                                 Contingent
          PO BOX 8698                                                         Unliquidated
          New York, NY 10116-8698                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          BARBARA A. GUERRA                                                   Contingent
          174 Long Key Road                                                   Unliquidated
          Key Largo, FL 33037                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,104.32
          BEERS ENTERPRISES INCORPORATED                                      Contingent
          DBA THE SWITCH                                                      Unliquidated
          P.O. BOX 12018                                                      Disputed
          Lewiston, ME 04243-9494
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          BERKOWITZ POLLACK BRANT                                             Contingent
          200 South Biscayne Blvd                                             Unliquidated
          6th & 7th Floor                                                     Disputed
          Miami, FL 33131-5351
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          BIRCH COMMUNICATIONS                                                Contingent
          P.O. Box 105066                                                     Unliquidated
          Atlanta, GA 30348-5066                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $65.17
          BMI BROADCAST MUSIC INC.                                            Contingent
          P.O. Box 630893                                                     Unliquidated
          Cincinnati, OH 45263-0893                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $17,022.50
          Borinquen Communication Inc.                                        Contingent
          Car 824 Km 7.2 Bo                                                   Unliquidated
          Qda Cruz Sector Los Perez                                           Disputed
          Toa Alta, PR 00954
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          BROADCAST DEPOT CORP.                                               Contingent
          7782 NW 46 Street                                                   Unliquidated
          Miami, FL 33166                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1.82
          CAPITAL ONE COMMERCIAL                                              Contingent
          PO BOX 5219                                                         Unliquidated
          CAROL STREAM, IL 60197-5219                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          CAR AUTO REPAIR                                                     Contingent
          13117 NW 107th Ave                                                  Unliquidated
          HIALEAH GARDENS, FL 33018                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $8,572.21
          Caribbean Power Industries, Corp.                                   Contingent
          478 Fernando Calder                                                 Unliquidated
          Urb Roosevelt                                                       Disputed
          San Juan, PR 00918
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          CARMEN D. RODRIGUEZ                                                 Contingent
          10330 SW 50 Terrace                                                 Unliquidated
          Miami, FL 33165                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $100.00
          CARTA AUTO REPAIR                                                   Contingent
          13117 NW 107TH AVE                                                  Unliquidated
          HIALEAH GARDENS, FL 33018                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          CBS BROADCAST INTERNATIONAL                                         Contingent
          P.O. Box 30656                                                      Unliquidated
          New York, NY 10087-0656                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          CENTURYLINK COMMUNICATIONS                                          Contingent
          BUSINESS SERVICES                                                   Unliquidated
          P.O. BOX 52187                                                      Disputed
          Phoenix, AZ 85072-2187
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          COFFEY BURLINGTON                                                   Contingent
          2601 South Bayshore DR.                                             Unliquidated
          Penthouse 1                                                         Disputed
          Miami, FL 33133
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $652.98
          COLONIAL LIFE                                                       Contingent
          P.O. Box 903                                                        Unliquidated
          Columbia, SC 29202-0903                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          COMCAST
          ATTN: John Dickinson                                                Contingent
          1010 Kennedy Dr                                                     Unliquidated
          Suite 200                                                           Disputed
          Key West, FL 33040
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $28,737.64
          COMCAST ABB NETWORK SOLUTIONS,                                      Contingent
          INC.                                                                Unliquidated
          PO BOX 37601                                                        Disputed
          Philadelphia, PA 19101-0601
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          COMCAST CABLE                                                       Contingent
          PO BOX 71211                                                        Unliquidated
          Charlotte, NC 28272-1211                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,287.50
          COMPUTER FORENSICS LLC                                              Contingent
          8461 Lake Worth Road                                                Unliquidated
          Suite 233G                                                          Disputed
          Lake Worth, FL 33467
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,587.50
          CORPORACION RADIO TV ESPANOLA S.A.                                  Contingent
          Edificio Prado el Rey Avda. Radiotelevis                            Unliquidated
          Prado del Rey 28223                                                 Disputed
          Pozuelo de Alarcon, Madrid Espa a
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $101.48
          CRIM                                                                Contingent
          PO Box 195387                                                       Unliquidated
          San Juan, PR 00919-5387                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          DADE ELEVATOR INSPECTORS                                            Contingent
          P.O. Box 558396                                                     Unliquidated
          Miami, FL 33255                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $165.76
          DAIOHS USA, INC.                                                    Contingent
          12255 SW 128th St                                                   Unliquidated
          Suite 410                                                           Disputed
          Miami, FL 33186
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $50.00
          DAISY M. LEON                                                       Contingent
          1971 Bay Drive                                                      Unliquidated
          Apt # 2                                                             Disputed
          Miami Beach, FL 33141
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          DANIARY SUBIRATS                                                    Contingent
          14304 SW 163rd Terrace                                              Unliquidated
          Miami, FL 33177                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          DANITZA A PEREZ                                                     Contingent
          660 SW 57 AVE                                                       Unliquidated
          #23                                                                 Disputed
          Miami, FL 33144
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          DAVID ESTRELLA P.A.                                                 Contingent
          55 Merrick Way                                                      Unliquidated
          Suite 210                                                           Disputed
          Coral Gables, FL 33015
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $91,635.14
          DAVID M. ROGERO P.A.                                                Contingent
          2625 Ponce de Leon Boulevard                                        Unliquidated
          Suite 280                                                           Disputed
          Coral Gables, FL 33134
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          DELL FINANCIAL SERVICES                                             Contingent
          PO BOX 5292                                                         Unliquidated
          CAROL STREAM, IL 60197-5292                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $165.00
          DIEGO GASTON BAS                                                    Contingent
          939 SW 154 Path                                                     Unliquidated
          Miami, FL 33194                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,655.00
          DIELECTRIC                                                          Contingent
          22 Tower RD                                                         Unliquidated
          Raymond, ME 04071                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,490.83
          DIRECT CAPITAL CORP                                                 Contingent
          155 Commerce Way                                                    Unliquidated
          Portsmouth, NH 03801                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          DIRECT CAPITAL CORPORATION                                          Contingent
          P.O. Box 790448                                                     Unliquidated
          St. Louis, MO 63179-0448                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          DOLORES HERNANDEZ                                                   Contingent
          900 W. 74 STREET                                                    Unliquidated
          #103                                                                Disputed
          HIALEAH, FL 33014
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $445,482.20
          DORTA & ORTEGA P.A.                                                 Contingent
          3860 SW 8th Street                                                  Unliquidated
          PH                                                                  Disputed
          Coral Gables, FL 33134
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,266.00
          DOS AL CUBO LLC                                                     Contingent
          1000 Brickell Avenue                                                Unliquidated
          Suite 1020                                                          Disputed
          Miami, FL 33131
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          ECUATRONIX USA INC.
          12930 SW 128th Street                                               Contingent
          Suite 204                                                           Unliquidated
          Unit A1                                                             Disputed
          Miami, FL 33186
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $429,164.41
          EMPIRE STATE BUILDING CO.LLC                                        Contingent
          P.O. Box 347606                                                     Unliquidated
          Pittsburgh, PA 15251-4606                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $5,000.00
          ENLIGHTEN DIGITAL LLC                                               Contingent
          4403 Vineland Road                                                  Unliquidated
          Suite B6                                                            Disputed
          Orlando, FL 32811
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          ESTRELLA ZAYAS BAZAN                                                Contingent
          3914S SW 154 PL                                                     Unliquidated
          Miami, FL 33185                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $600.00
          Eugenia Maria Penichet                                              Contingent
          2450 SW 62 AVE                                                      Unliquidated
          Miami, FL 33155                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $870.56
          FEDERAL EXPRESS                                                     Contingent
          P.O. Box 660481                                                     Unliquidated
          Dallas, TX 75266-0481                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,306.30
          First Flash Janitorial Services Inc.                                Contingent
          6705 SW 44th St                                                     Unliquidated
          #24                                                                 Disputed
          Miami, FL 33155
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $18,225.14
          FLETCHER HEALD & HILDRETH PLC                                       Contingent
          1300 NORTH 17TH ST                                                  Unliquidated
          11TH FLOOR                                                          Disputed
          ARLINGTON, VA 22209
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $18,425.95
          FPI SECURITY SERVICES INC.                                          Contingent
          P.O.BOX 126356                                                      Unliquidated
          HIALEAH, FL 33012-1605                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          FRANCISCO FRAMIL                                                    Contingent
          10941 NW 16th Street                                                Unliquidated
          Pembroke Pines, FL 33026                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          FRANCISCO RODRIGUEZ                                                 Contingent
          502 SW 18TH AVE                                                     Unliquidated
          APT 306                                                             Disputed
          MIAMI, FL 33135
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          FUENTES-HUDSON & ASSOCIATES INC                                     Contingent
          13822 SW 83 Avenue                                                  Unliquidated
          Miami, FL 33158                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $75.00
          GERD RIEGER                                                         Contingent
          GERD                                                                Unliquidated
          8421 SW 202 ST                                                      Disputed
          Cutler Bay, FL 33189
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          GESTEVISION TELECINCO S.A.                                          Contingent
          Ctra. Fuencarral-Alcobendas 4                                       Unliquidated
          28049                                                               Disputed
          Madrid, Espana
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          GETTYIMAGES                                                         Contingent
          PO BOX 84434                                                        Unliquidated
          Seattle, WA 98124-5734                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          GINA A. GOLDEN                                                      Contingent
          115-111                                                             Unliquidated
          230 Street                                                          Disputed
          CAMBRIA HEIGHTS, NY 11411
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          GINA HAZEL GARCIA                                                   Contingent
          581 NE 199 Terrace                                                  Unliquidated
          Miami, FL 33179                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,041.62
          GLASAT.COM L.L.C.                                                   Contingent
          510 SW 51 AVE                                                       Unliquidated
          MIAMI, FL 33134                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          GLOBO INTERNATIONAL COMPANY
          LIMITED                                                             Contingent
          SANDRIGHAM HOUSE                                                    Unliquidated
          SHIRLEY STREET 83                                                   Disputed
          NASSAU, BAHAMAS
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $778.75
          GORGY RECYCLING ROLL-OFF SERVICES                                   Contingent
          3500 NW 62 Street                                                   Unliquidated
          Miami, FL 33147                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,372.80
          GTT AMERICAS LLCP                                                   Contingent
          P.O. Box 842630                                                     Unliquidated
          Dallas, TX 75284-2630                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $455.00
          HECTOR R. LLORENS                                                   Contingent
          10843 SW 75th TERRACE                                               Unliquidated
          Miami, FL 33173                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $150.00
          HELOISA LOPES DE OLIVERA ALVES                                      Contingent
          100 Golden Isles DR                                                 Unliquidated
          909                                                                 Disputed
          Hallandale Beach, FL 33009
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $350.00
          HIALEAH GARDENS POLICE DEPARTMENT                                   Contingent
          10301 NW 87th Avenue                                                Unliquidated
          Hialeah, FL 33016                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,000.00
          HLB GRAVIER LLP                                                     Contingent
          396 Alhambra Circle                                                 Unliquidated
          Suite 900                                                           Disputed
          Coral Gables, FL 33134
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          HOME DEPOT                                                          Contingent
          Dept 32-2502483823                                                  Unliquidated
          P.O. Box 9055                                                       Disputed
          Des Moines, IA 50368-9055
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          HUGO PASSARELLO LUNA                                                Contingent
          57 Avenue Pasteur                                                   Unliquidated
          Montreuil, FR 93100                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          HUGO S. HERRERA                                                     Contingent
          18435 NW 10th St                                                    Unliquidated
          Pembroke Pines, FL 33029                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          HYDER SAWANI                                                        Contingent
          3900 SW 186 Way                                                     Unliquidated
          Miramar, FL 33029                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          IGT MEDIA HOLDINGS INC.                                             Contingent
          21 SE 1st Avenue                                                    Unliquidated
          Miami, FL 33131                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $62.00
          IMAGINE COMMUNICATIONS                                              Contingent
          PO Box 732107                                                       Unliquidated
          Dallas, TX 75373-2107                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $49,517.25
          INNOVATIVE SERVICE TECHNOLOGY
          MANAGEMENT                                                          Contingent
          934 Glenwood Avenue                                                 Unliquidated
          Suite 250                                                           Disputed
          Atlanta, GA 30316-1816
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $783.25
          INTEGRATED SECURITY SYSTEMS                                         Contingent
          1876 NW 7 ST                                                        Unliquidated
          MIAMI, FL 33125                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,246.72
          INTERNATIONAL BUSINESS MACHINES                                     Contingent
          CORP                                                                Unliquidated
          P.O. Box 534151                                                     Disputed
          Atlanta, GA 30353-4151
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,074.00
          INTERNATIONAL COMMERCIAL BUSINESS
          RECOVE                                                              Contingent
          401 Congress Avenue                                                 Unliquidated
          Suite 1540                                                          Disputed
          Austin, TX 78701
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,502.00
          INTRACOASTAL YACHT CLUB                                             Contingent
          Att: Community Manager                                              Unliquidated
          16900 N. Bay Road                                                   Disputed
          Sunny Isles, FL 33160
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $23,295.08
          IPFS CORPORATION                                                    Contingent
          P.O. BOX 730223                                                     Unliquidated
          Dallas, TX 75373-0223                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          JACQUELINE SANABRIA                                                 Contingent
          14821 SW 18 ST                                                      Unliquidated
          MIRAMAR, FL 33027                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          JORGE M. ABRIL P.A.                                                 Contingent
          1221 SW 27th Avenue                                                 Unliquidated
          2nd Floor                                                           Disputed
          Miami, FL 33135
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          JOSE J RAMON                                                        Contingent
          947 NW 135 CT                                                       Unliquidated
          MIAMI, FL 33182                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $455.00
          JUAN ANGEL FINA                                                     Contingent
          3220 SW 84 Ave                                                      Unliquidated
          Miami, FL 33155                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          JUAN M. CAO                                                         Contingent
          4419 SW 11TH STREET                                                 Unliquidated
          MIAMI, FL 33134                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          KESSLER AND GEHMAN ASSOCIATES INC.                                  Contingent
          507 NW 60th Street                                                  Unliquidated
          Suite D                                                             Disputed
          Gainesville, FL 32607
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          L-3 COMMUNICATIONS CORP                                             Contingent
          22312 Network Place                                                 Unliquidated
          Chicago, IL 60673-1223                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          LAW OFFICE OF JACK N GOODMAN                                        Contingent
          1200 New Hampshire Ave                                              Unliquidated
          NW Suite 800                                                        Disputed
          Washington, DC 20036
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          LAW OFFICES HOLLAND & KNIGHT LLP                                    Contingent
          P.O. BOX 864084                                                     Unliquidated
          ORLANDO, FL 32886-4084                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $698.70
          LIKE SPECTRUM LLC                                                   Contingent
          90 Bow Street East                                                  Unliquidated
          East Greenwich, RI 02818                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,542.24
          Loud & Live, Inc.                                                   Contingent
          2301 NW 87th Ave.                                                   Unliquidated
          Miami, FL 33172                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,000.00
          MARCELL FELIPE P.A.                                                 Contingent
          1001 Brickell Bay Dr                                                Unliquidated
          Suite 1504                                                          Disputed
          Miami, FL 33131
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          MARIA CONSUELO HERNANDEZ                                            Contingent
          3470 SW 27TH ST                                                     Unliquidated
          MIAMI, FL 33133                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          MARIA L. GONZALEZ                                                   Contingent
          3464 N. Meridian Ave                                                Unliquidated
          Miami Beach, FL 33140                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          MATOS DORIS                                                         Contingent
          1643 SW 67 AVE                                                      Unliquidated
          Apt 3                                                               Disputed
          MIAMI, FL 33155
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          MIAMI BANNERS & SIGNS                                               Contingent
          7250 NW 8 Street                                                    Unliquidated
          Suite 1                                                             Disputed
          Miami, FL 33126
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $698.70
          MIAMI JANITORIAL SUPPLIES, INC.
          10651 NW 132nd St.                                                  Contingent
          Bay 3                                                               Unliquidated
          `                                                                   Disputed
          HIALEAH GARDENS, FL 33018
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          MIAMI-DADE COUNTY AUTO TAG AGENCY                                   Contingent
          PO BOX 012131                                                       Unliquidated
          Miami, FL 33101-2131                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $312.00
          MIAMI-DADE FIRE RESCUE DEPARTMENT                                   Contingent
          Finance Bureau                                                      Unliquidated
          9300 NW 41st St                                                     Disputed
          Miami, FL 33178-2414
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          MILEIDYS RIZO                                                       Contingent
          10931 SW 146 Ave                                                    Unliquidated
          Miami, FL 33186                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $300.00
          MONICA PASQUALOTTO LLC                                              Contingent
          10275 Collins Avenue                                                Unliquidated
          Apt 420                                                             Disputed
          Bal Harbour, FL 33154
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          MOUNTAIN VALLEY WATER CO.                                           Contingent
          P.O BOX 660070                                                      Unliquidated
          MIAMI SPRINGS, FL 33266                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,570.00
          MUNDO TV LLC                                                        Contingent
          P.O. Box 740777                                                     Unliquidated
          Los Angeles, CA 90074-0777                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $187,639.54
          MUNDOFOX BROADCASTING LLC                                           Contingent
          62981 Collecton Center Dr.                                          Unliquidated
          Chicago, IL 60653-0628                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,925.00
          NATIONAL ECONOMIC RESEARCH                                          Contingent
          ASSOCIATES                                                          Unliquidated
          P.O. Box 7247-6754                                                  Disputed
          Philadelphia, PA 19170-6754
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          NIELSEN MEDIA RESEARCH                                              Contingent
          P.O. Box # 532453                                                   Unliquidated
          Charlotte, NC 28290-2453                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          OLGA PELAEZ                                                         Contingent
          6271 NW 199 ST                                                      Unliquidated
          HIALEAH, FL 33015                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $1,299,856.89
          ORLY GROUP, INC.                                                    Contingent
          13001 NW 107th Ave.                                                 Unliquidated
          HIALEAH GARDENS, FL 33018                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          P & P PRODUCTIONS GROUP INC.                                        Contingent
          8886 W FLAGLER ST                                                   Unliquidated
          APT 101                                                             Disputed
          MIAMI, FL 33174
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          PEDRO R. SEVCEC                                                     Contingent
          11825 South Mitchell Manor Cir                                      Unliquidated
          PINECREST, FL 33156                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $650.00
          PINEDA LAWN SERVICES INC.                                           Contingent
          80 W 38 STREET                                                      Unliquidated
          HIALEAH, FL 33012                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,225.54
          PRESS ASSOCIATION INC.                                              Contingent
          P.O. Box 414212                                                     Unliquidated
          P.O. Box 414212                                                     Disputed
          Boston, MA 02241-4212
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $64,671.47
          RASCO KLOCK PEREZ & NIETO P.L.                                      Contingent
          2555 Ponce de Leon Blvd                                             Unliquidated
          Suite 600                                                           Disputed
          Coral Gables, FL 33134
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          RAUL TORRES                                                         Contingent
          1020 W 33 St.                                                       Unliquidated
          Hialeah, FL 33012                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          RCN TELEVISION                                                      Contingent
          Avenida de las America                                              Unliquidated
          #65-82 A.A.                                                         Disputed
          Bogota, Colombia
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $100.00
          REBECA C. DE LA FE                                                  Contingent
          3641 NW 100 Street                                                  Unliquidated
          Miami, FL 33147                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,014.18
          REGUS MANAGEMENT GROUP LLC                                          Contingent
          P.O. Box 842456                                                     Unliquidated
          Dallas, TX 75284-2456                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          REINALDO BECERRA                                                    Contingent
          1170 Vero Ave                                                       Unliquidated
          Clewiston, FL 33440                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $798.91
          RESTORED DIGITAL SOLUTIONS, LLC                                     Contingent
          1801 NW 135th Ave                                                   Unliquidated
          Suite 900                                                           Disputed
          Miami, FL 33182
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          REVEREND PEDRO MARTINEZ LLC                                         Contingent
          50 BISCAYNE BLVD                                                    Unliquidated
          APT 1806                                                            Disputed
          MIAMI, FL 33132
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          RICARDO ANTONIO BECERRA ALADRO                                      Contingent
          1012 NW 102 PL                                                      Unliquidated
          Miami, FL 33172                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          ROBERTO A. HEREDIA RUBIO                                            Contingent
          5750 Collins Avenue                                                 Unliquidated
          Apt 9E                                                              Disputed
          Miami Beach, FL 33140
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $401.90
          ROTO ROOTER SERVICES CO.                                            Contingent
          5672 Collections Center Dr.                                         Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          ROWLAND COFFEE ROASTERS                                             Contingent
          9290 NW 112 Avenue                                                  Unliquidated
          Ste #15                                                             Disputed
          Miami, FL 33178
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $944.73
          SHARP ELECTRONIC CORPORATION                                        Contingent
          DBA SHARP BUSINESS SYSTEMS DEPT.                                    Unliquidated
          AT 40249                                                            Disputed
          ATLANTA, GA 31192-0249
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $45,979.75
          SHERJAN BROADCASTING                                                Contingent
          21050 NE 38th Ave.                                                  Unliquidated
          #2304                                                               Disputed
          Aventura, FL 33180
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $857.13
          STAPLES ADVANTAGE                                                   Contingent
          DEPT ATL                                                            Unliquidated
          PO BOX 105748                                                       Disputed
          ATLANTA, GA 30348-5748
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $222.00
          STRATA MARKETING INC.                                               Contingent
          23608 Network Place                                                 Unliquidated
          Chicago, IL 60673-1236                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,475.46
          TASC                                                                Contingent
          P.O. Box 88278                                                      Unliquidated
          Milwaukee, WI 53288-0001                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $375.00
          TAYLOR REESE & ASSOCIATES INC.                                      Contingent
          299 Alhambra Circle                                                 Unliquidated
          Suite 223                                                           Disputed
          Coral Gables, FL 33134
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $34.24
          TECH AIR OF SOUTH FLORIDA                                           Contingent
          4500 SW 74th Ave.                                                   Unliquidated
          Miami, FL 33155                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          THE BRAIN NIMENS CORPORATION
          LIMITED                                                             Contingent
          105 West Beaver Creek RD                                            Unliquidated
          Suite 5                                                             Disputed
          Richmond Hill, Ontario L4B 1C6
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          THE MIAMI HERALD                                                    Contingent
          PO BOX 019140                                                       Unliquidated
          MIAMI, FL 33101                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          THE MIRRAM GROUP                                                    Contingent
          5030 Broadway                                                       Unliquidated
          Suite 807                                                           Disputed
          New York, NY 10034
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          THE PAUL GROUP INC.                                                 Contingent
          15349 SW 38 Street                                                  Unliquidated
          Davie, FL 33331                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $8,280.00
          THOMSON REUTERS (MARKETS) LLC                                       Contingent
          P.O. Box 415983                                                     Unliquidated
          BOSTON, MA 02241                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,054.66
          THYSSENKRUPP ELEVATOR                                               Contingent
          PO Box 3796                                                         Unliquidated
          CAROL STREAM, IL 60132-3796                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $531.21
          TIAA COMMERCIAL FINANCE INC.                                        Contingent
          P.O. Box 911608                                                     Unliquidated
          Denver, CO 80291-1608                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          TIME WARNER CABLE                                                   Contingent
          P.O. Box 11820                                                      Unliquidated
          Newark, NJ 07101-8120                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 22 of 25
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 Debtor       America-CV Network, LLC                                                                 Case number (if known)            19-16976-BKC-AJC
              Name

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,882.44
          TOP ENTERTAINMENT                                                   Contingent
          13001 NW 107th Ave.                                                 Unliquidated
          HIALEAH GARDENS, FL 33018                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $469.45
          TRIANGLE FIRE INC                                                   Contingent
          2924 NW 109 Ave                                                     Unliquidated
          Miami, FL 33172                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $326.35
          TRULY NOLEN OF AMERICA INC.                                         Contingent
          5931 Hallandale Beach Blvd                                          Unliquidated
          West Park, FL 33023-5245                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $47,000.00
          UNITED TELEPORTS INC.                                               Contingent
          19000 NE 5th Avenue                                                 Unliquidated
          Miami, FL 33179                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          UNIVERSAL MUSIC LLC                                                 Contingent
          6974 NW 12 Street                                                   Unliquidated
          Miami, FL 33126                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          UPS                                                                 Contingent
          P.O.BOX 7247-0244                                                   Unliquidated
          PHILADELPHIA, PA 19170                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          VALUE ADDED SOLUTIONS & SERVICES
          INC.                                                                Contingent
          18071 Biscayne Blvd.                                                Unliquidated
          Suite 1001                                                          Disputed
          Aventura, FL 33160
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 23 of 25
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 Debtor       America-CV Network, LLC                                                                 Case number (if known)            19-16976-BKC-AJC
              Name

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          VERIZON                                                             Contingent
          PO BOX 15124                                                        Unliquidated
          ALBANY, NY 12212-5124                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          VERIZON                                                             Contingent
          P.O. Box 660108                                                     Unliquidated
          Dallas, TX 75266-0108                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          VITAMEDIX LLC                                                       Contingent
          20801 Biscayne Blvd                                                 Unliquidated
          Suite 403                                                           Disputed
          Aventura, FL 33180
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $4,776.00
          VSN NORTH AMERICA, INC.                                             Contingent
          5201 Blue Lagoon Dr.                                                Unliquidated
          Floor 8, Ste 890                                                    Disputed
          Miami, FL 33126
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $576.92
          WASTE MANAGEMENT                                                    Contingent
          PO BOX 105453                                                       Unliquidated
          ATLANTA, GA 30348-5453                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $101.65
          WATERMAIN                                                           Contingent
          8549 NW 68 Street                                                   Unliquidated
          Miami, FL 33166                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $0.00
          WEATHERCENTRAL                                                      Contingent
          PO BOX 935565                                                       Unliquidated
          Atlanta, GA 31193-5565                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 24 of 25
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 Debtor       America-CV Network, LLC                                                                 Case number (if known)            19-16976-BKC-AJC
              Name

 3.162     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $22,768.96
           WIDEORBIT INC.                                                     Contingent
           DEPT CH 17518                                                      Unliquidated
           PALATINE, IL 60055-7518                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,198.00
           WRIGHT NATIONAL FLOOD INSURANCE                                    Contingent
           COMPANY                                                            Unliquidated
           P.O. Box 33070                                                     Disputed
           St. Petersburg, FL 33733-8070
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.164     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $455.00
           YANELYS APARICIO                                                   Contingent
           141 E 56 Street                                                    Unliquidated
           Hialeah, FL 33013-1227                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.165     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $300.00
           ZORAIDA ALFARO LAGO                                                Contingent
           410 NW 44th Ave                                                    Unliquidated
           Miami, FL 33126                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                       71,828.15
 5b. Total claims from Part 2                                                                            5b.    +   $                    4,951,818.38

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        5,023,646.53




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 25 of 25
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 Fill in this information to identify the case:

 Debtor name         America-CV Network, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)         19-16976-BKC-AJC
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.         State what the contract or
              lease is for and the nature of
              the debtor's interest

                  State the term remaining

              List the contract number of any                                        See attached
                    government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 1
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              Debtor                      Contract Counterparty                          Address                                  Contract Description                Notes

                                                                           Poligono Son Noguera
                                                                           Ctra. Llucmajor
                                                                           Arenal KM 51, 5 C.P. 07620
                                                                           Mallora‐Baleares
America‐CV Network LLC   Air Europa Lineas Sereas, S.A.U.                  SPAIN                            Trade Agreement ‐ Acuerdo Colaboracion
                                                                           23 W. 36th St
                                                                           6th Floor
America‐CV Network LLC   Audio Network US, Inc.                            New York, NY 10018               Production License Agreement with Retail
                                                                           9246 Portage Industrial Dr.
America‐CV Network LLC   BASIC ‐ Gatekeeper                                Portage, MI 49024                SaaS System Subscription Agreement
America‐CV Network LLC   Carlos Otero                                      Redacted                         Employment Agreement
                                                                           4307 Vineland Rd.
                                                                           Suite H1‐H2
America‐CV Network LLC   Central Florida Broadcast, Inc                    Orlando, FL 32811                Affiliation Agreement W21AU‐TV License
                                                                           931 14th St. #900
America‐CV Network LLC   CenturyLink Sales Solutions, Inc.                 Denver, CO 80202                 Total Advantage Solutions Link Agreement
                                                                                                            Order Agreement
America‐CV Network LLC   Comcast                                           Unknown                          1701 SW 248th St.
                                                                                                            Order Agreement
America‐CV Network LLC   Comcast                                           Unknown                          1255 NW 210th St.

America‐CV Network LLC   Comcast Business # 20352803                       Unknown                          Comcast Enterprise Services ‐ Master Services Agreement
America‐CV Network LLC   Comcast Enterprise                                Unknown                          50M Circuit to United Teleport
America‐CV Network LLC   Comcast Hallandale                                Unknown                          Service Agreement
                                                                           1880 N. Congress Ave.
                                                                           Suite 333
America‐CV Network LLC   Computer Forensics LLC                            Boynton Beach, FL 33426          Consultant Engagement Agreement
                                                                           Direccion Ventas Internacional
                                                                           Av.da Radio Television
                                                                           4‐28223 Pozuelo de Alarcon
America‐CV Network LLC   Corporacion de Radio y Television Española RTVE   Madrid, SPAIN                    Contrato Venta Programa ‐ Centro Medico
                                                                           Direccion Ventas Internacional
                                                                           Av.da Radio Television
                                                                           4‐28223 Pozuelo de Alarcon
America‐CV Network LLC   Corporacion de Radio y Television Española RTVE   Madrid, SPAIN                    Contrato ‐ En la tuya o en la mia.
                                                                           Direccion Ventas Internacional
                                                                           Av.da Radio Television
                                                                           4‐28223 Pozuelo de Alarcon
America‐CV Network LLC   Corporacion de Radio y Television Española RTVE   Madrid, SPAIN                    Contrato ‐ Isabel
                                                                           Direccion Ventas Internacional
                                                                           Av.da Radio Television
                                                                           4‐28223 Pozuelo de Alarcon
America‐CV Network LLC   Corporacion de Radio y Television Española RTVE   Madrid, SPAIN                    Contrato ‐ Amar en tiempos revueltos
                                                                           One Dell Way
America‐CV Network LLC   Dell Financial Services LLC                       Round Rock, TX 78682             Dell Financial Services Lease Agreement
                                                                           155 Commerce Way
America‐CV Network LLC   Direct Capital                                    Portsmouth, NH 03801             Lease Agreement
                                                                           55 SE 6th St.
                                                                           Suite 1410
America‐CV Network LLC   Elegua & Shango Productions Inc                   Miami, FL 33131                  Agreement to Produce Television Series




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              Debtor                      Contract Counterparty                        Address                                     Contract Description                                Notes


                                                                         c/o Golazo Media & Entertainment
                                                                         10241 Orchid Reserve Dr.
America‐CV Network LLC   Family Worship Center Church                    West Palm Beach, FL 33412           Time Brokerage Agreement
America‐CV Network LLC   Felix G. Sanchez                                Redacted                            Services Agreement

                                                                         7900 Tysons One Place, Suite 1450
America‐CV Network LLC   GTT Americas, LLC                               McLean, VA 22102                    Master Service Agreement
                                                                         7354 Central Industrial Park Dr.
America‐CV Network LLC   H & R Production Group                          Riveria Beach, FL 33404‐3426        Affiliation Agreement WBWP‐LD License
                                                                         934 Glenwood Ave.
                                                                         Suite 250
America‐CV Network LLC   IST Discovere                                   Atlanta, GA 3.0316                  e‐Discovery Agreement
America‐CV Network LLC   Javier Berridy                                  Redacted                            Employment Agreement
                                                                         2 Park Ave., 10th Floor N.
America‐CV Network LLC   JW Player                                       New York, NY 10016                  Video Streaming and Storage agreement
                                                                         2248 SW 14th St.
America‐CV Network LLC   Mario's Repair and Services                     Miami, FL 33146                     Annual Maintenance ‐ HVAC
                                                                         1166 Avenue of the Americas
America‐CV Network LLC   Nera Economic Consulting                        New York, NY 10036                  Engagement Letter                                         Consultant in Romay Litigation
                                                                         135 S. LaSalle St.
America‐CV Network LLC   ORACLE/Banc of America Leasing & Capital, LLC   Chicago, IL 60603                   Hardware & Software Finance Agreement
                                                                         13001 NW 107th Ave.
America‐CV Network LLC   Orly Group, Inc.                                Hialeah Gardens, FL 33018           Lease Agreement ‐ Studio and Corporate Headquarters
America‐CV Network LLC   Pedro Sevcec                                    Redacted                            Employment Agreement
America‐CV Network LLC   Pineda Lawn Services Inc                                                            Proposal‐ Monthly Landscaping Maintenance agreement
                                                                         350 Hudson St.
                                                                         Suite 300
America‐CV Network LLC   PR Newswire Association LLC                     New York, NY 10014                  Barter Agreement
                                                                         1801 NW 135th Ave.
                                                                         Suite 900
America‐CV Network LLC   Restored Digital Solutions                      Miami, FL 33182                     Lease Agreement
                                                                         3 Times Square
America‐CV Network LLC   Reuters Media Services                          New York, NY 10036                  Subscription Agreement
                                                                         416 Eagle Rock Ave.
America‐CV Network LLC   Richland Towers ‐ NYC, LLC (American Tower)     West Orange, NJ 07052‐0001          License Agreement and Nationwide Programmatic Agreement
                                                                         600 NW 32nd Place #317
America‐CV Network LLC   TGF Productions, Inc.                           Miami, FL 33125                     Production Contract
                                                                         200 Liberty St.
America‐CV Network LLC   The Associated Press                            New York, NY 10281                  Confidential Settlement Agreement and General Release     Case No. 2016‐013767‐CC‐23
                                                                         683 Main Street
                                                                         Suite A‐2
America‐CV Network LLC   The Switch (Beers)                              Osterville, MA 02655                Agreements; MB‐1610172.01
                                                                         683 Main Street
                                                                         Suite A‐2
America‐CV Network LLC   The Switch (Beers)                              Osterville, MA 02655                MB‐1207132.01
                                                                         683 Main Street
                                                                         Suite A‐2
America‐CV Network LLC   The Switch (Beers)                              Osterville, MA 02655                DL‐1708082.15




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              Debtor                    Contract Counterparty                    Address                               Contract Description       Notes

                                                                    683 Main Street
                                                                    Suite A‐2
America‐CV Network LLC   The Switch (Beers)                         Osterville, MA 02655           RA‐1111102.03c
                                                                    683 Main Street
                                                                    Suite A‐2
America‐CV Network LLC   The Switch (Beers)                         Osterville, MA 02655           MB‐1206222.01‐02
                                                                    19000 NE 5th Ave.
America‐CV Network LLC   United Teleports Inc                       North Miami Beach, FL 33179    Agreements ‐ 10524‐501‐201 & 10524‐201‐202
                                                                    1200 Brickell Ave
                                                                    Suite 1575
America‐CV Network LLC   VIP 2000 TV                                Miami, FL 33131                Program License Agreement ‐ Tierra Indomable
                                                                    1200 Brickell Ave
                                                                    Suite 1575
America‐CV Network LLC   VIP 2000 TV                                Miami, FL 33131                Xica daSilva
                                                                    1200 Brickell Ave
                                                                    Suite 1575
America‐CV Network LLC   VIP 2000 TV                                Miami, FL 33131                Dona Bella
                                                                    1200 Brickell Ave
                                                                    Suite 1575
America‐CV Network LLC   VIP 2000 TV                                Miami, FL 33131                Pantanal
                                                                    5201 Blue Lagoon Dr.
                                                                    8th Floor
America‐CV Network LLC   VSN                                        Miami, FL 33126                News Automation Service Agreement
                                                                    105 W. Beaver Creek Rd.
                                                                    Suite #4
                                                                    Richmond Hill
America‐CV Network LLC   Westar Music                               Ontario, Canada L4B 1C6        Annual Master & Synchronization Agreement
                                                                    1160 Battery St., Ste 300
America‐CV Network LLC   Wideorbit, Inc.                            San Francisco, CA 94111        Software License
America‐CV Network LLC   Will Plus Publishing/Lakambra Publishing   Unknown                        Music Synchronization License Agreement
                                                                    400 Minuteman Rd.
America‐CV Network LLC   WSI Corporation                            Andover, MA 01810              Hardware and Software Lease Agreement




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 Fill in this information to identify the case:

 Debtor name         America-CV Network, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)         19-16976-BKC-AJC
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Orly Group, Inc.                  13001 NW 107th Ave.                              Banco de Sabadell               D       2.3
                                               Hialeah Gardens, FL 33018                        S.A.                             E/F
                                                                                                                                G




Official Form 206H                                                       Schedule H: Your Codebtors                                          Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         America-CV Network, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)         19-16976-BKC-AJC
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                              $4,256,769.00
       From 1/01/2019 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                            $18,238,009.43
       From 1/01/2018 to 12/31/2018
                                                                                                Other


       For year before that:                                                                    Operating a business                            $19,000,000.00
       From 1/01/2017 to 12/31/2017
                                                                                                Other      Approximate

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See attached                                                                                        $0.00          Secured debt
                                                                                                                                  Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Payroll and Benefits - see attached                                                                 $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                              Describe of the Property                                       Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    See attached                                                                                                            Pending
                                                                                                                                       On appeal
                                                                                                                                       Concluded

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

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AMERICA CV GROUP OF COMPANIES
Schedule of Executive Salaries and List of Benefits
                                                   5/6/2019

                          NAME                                    POSITION       COMPENSATION YR             BENEFITS
CARLOS VASALLO TOME                                           CEO / PRESIDENT   Deferred until 2020 Use of corporate AMEX for business expenses

EMILIO BRAUN                                                  Vice President              $180,000 Use of corporate AMEX for business expenses
                                                                                                   Health insurance EFF       $ 1,002.00

Miguel Cossio                                                 COO                         $180,000 Health Insurance ES        $ 1,184.49
                                                                                                   Company car                $ 687.00

Jorge Salas                                                   CFO                         $120,000 Health Insurance EE        $   519.10
                                                                                                   Car Allowance              $   419.00

Jeannie Penichet                                              Sales Director              $120,000 Health Insurance EE        $   238.47
                                                              Commissions YTD              $24,078 Car Allowance              $   300.00
                                                              Bonus Sales YTD              $14,540
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                      Case Caption                                 Case Number              Nature of Case                         Court                        Case Status

America‐CV Network, LLC v. US Department of the                                    Freedom of Information Act   U.S. District Court ‐ Southern District of
Treasury, Office of Foreign Assets Control                   1:18‐CV‐22862         Request                      Florida                                            Closed
Caribevision Holdings, Inc., et al. v. Omar Alejandro Saul
Romay, et al.                                                3D19‐823              Appeal                       Third District Court of Appeals (Florida)          Closed
Omar Alejandro Saul Romay, et al. v. Caribevision                                                               11TH JUDICIAL CIRCUIT, MIAMI‐DADE
Holdings, Inc., et al.                                       2017‐028393‐CA‐01     Contract                     COUNTY                                            Pending
 AMERICA CV NETWORK, LLC v. MIAMI‐DADE COUNTY                                                                   11TH JUDICIAL CIRCUIT, MIAMI‐DADE
CLERK OF COURTS                                              2019‐011915‐CA‐01     Writ of Mandamus             COUNTY                                             Closed
AMERICA CV NETWORK, LLC. v. JOSE C PEREZ CORDOBA                                                                11TH JUDICIAL CIRCUIT, MIAMI‐DADE
ET AL                                                        2019‐006769‐CA‐01     Contract                     COUNTY                                            Pending
MUNDOMAX BROADCASTING LLC v. AMERICA CV                                                                         11TH JUDICIAL CIRCUIT, MIAMI‐DADE            Voluntary Dismissal
STATION GROUP INC ET AL                                      2017‐012371‐CA‐01     Contract                     COUNTY                                            6/13/18
LUIS TEJERA, ET AL., v. LINCOLN LENDING SERVICES,
LLC, ET AL.                                                  3D16‐2746             Appeal                       Third District Court of Appeals (Florida)         Pending
LUIS TEJERA, ET AL., v. LINCOLN LENDING SERVICES,                                                               11TH JUDICIAL CIRCUIT, MIAMI‐DADE
LLC, ET AL.                                                  2009‐076467‐CA‐01     Contract                     COUNTY                                            Pending
 SOLO AERO CORP. v. AMERICA‐CV NETWORK, LLC AND
AMERICA‐CV STATION GROUP, INC.                               3D16‐2297             Appeal                       Third District Court of Appeals (Florida)         Pending
                                                                                                                11TH JUDICIAL CIRCUIT, MIAMI‐DADE
MEZA, ANGEL VS CERIANI, JAVIER                               2014‐013514‐CA‐01     Injunctive Relief            COUNTY                                            Pending
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9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                 Dates given                      Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                  Dates of loss      Value of property
       how the loss occurred                                                                                                                              lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates          Total amount or
                the transfer?                                                                                                                          value
                Address
       11.1.                                                                                                                   4/25/19 -
                                                                                                                               $20,000
                                                                                                                               5/23/19-
                                                                                                                               $50,000

                                                                                                                               Additional
                                                                                                                               $120,000
                Genovese Joblove & Battista,                                                                                   paid by
                P.A.                                                                                                           America-CV
                100 S.E. 2nd Street                                                                                            Station
                44th Floor                                                                                                     Group, Inc.
                Miami, FL 33131                                      Attorney Fees                                             on 5/9/19         $190,000.00

                Email or website address


                Who made the payment, if not debtor?
                Debtor and America-CV Station
                Group, Inc.



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                  Dates transfers       Total amount or
                                                                                                                        were made                      value


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13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was               Last balance
                Address                                         account number            instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.

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       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

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25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Jorge Salas, CFO                                                                                                           2015 - present
                    13001 NW 107th Ave.
                    Hialeah Gardens, FL 33018
       26a.2.       HLB Gravier, LLP                                                                                                           2015 - present
                    396 Alhambra Cir, Ste 900
                    Miami, FL 33134

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Jorge Salas, CFO                                                                                                           2015 - present
                    13001 NW 107th Ave.
                    Hialeah Gardens, FL 33018
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.2.       HLB Gravier, LLP                                                                                                           2015 - present
                    396 Alhambra Cir., Ste 900
                    Miami, FL 33134

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Jorge Salas, CFO
                    13001 NW 107th Ave.
                    Hialeah Gardens, FL 33018
       26c.2.       HLB Gravier, LLP
                    396 Alhambra Cir., Ste 900
                    Miami, FL 33134

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?
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           No
       Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Carlos Vasallo                                 13001 NW 107th Ave.                                 Manager
                                                      Hialeah Gardens, FL 33018

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Emilio Braun                                   13001 NW 107th Ave.                                 Manager
                                                      Hialeah Gardens, FL 33018

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Ana Cristina Castilla                          13001 NW 107th Ave.                                 Manager
                                                      Hialeah Gardens, FL 33018

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Marcell Felipe                                 1001 Brickell Bay Dr.                               Manager
                                                      #1504
                                                      Miami, FL 33131
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Alejandro Orvananos                            13001 NW 107th Ave.                                 Manager
                                                      Hialeah Gardens, FL 33018

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Angel Santamaria                               13001 NW 107th Ave.                                 Manager
                                                      Hialeah Gardens, FL 33018

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Caribevision TV Network,                       13001 NW 107th Ave.                                 Sole holder of membership             100%
       LLC                                            Hialeah Gardens, FL 33018                           interests



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
       Yes. Identify below.
               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value

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31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 19, 2019

 /s/ Jorge Salas                                                        Jorge Salas
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Authorized Representative

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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